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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ALFONSO JESUS GALINDO,                            §
    Plaintiff,                                    §
                                                  §
v.                                                §         CIVIL ACTION NO. 4:19-cv-1732
                                                  §
AMERIHOME MORTGAGE                                §
COMPANY, LLC,                                     §
   Defendant.                                     §

                   DEFENDANT’S STATEMENT REGARDING REMOVAL

TO THE HONORABLE UNITED STATES JUDGE:

         Pursuant to Court’s order of May 14, 2019, Defendant AMERIHOME MORTGAGE

COMPANY, LLC (“Amerihome”) files Defendant’s Statement Regarding Removal and would show

unto the Court the following:

         1.       Defendant was served on April 11, 2019.

         2.       No defendants that have been served are residents of Texas. The sole member of

Amerihome is Aris Mortgage Holding Company, L.L.C., which is a resident of Delaware. The sole

member of Aris Mortgage Holding Company, L.L.C. is A-A Mortgage Opportunities, LP, which is a

resident of Delaware. The limited partners of A-A Mortgage Opportunities, LP are as follows:

        Apollo Credit Opportunity Fund III AIV LP, which is a resident of Delaware.

        Athene Annuity and Life Assurance Company, which is a resident of Delaware.

        Athene Annuity and Life Company, which is a resident of Iowa.

        American Equity Investment Life Insurance Company, which is a resident of Iowa.

        Structured Annuity Reinsurance Company, which is a resident of Iowa.


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        Midland National Life Insurance Company, which is a resident of North Dakota.

        Amerihome Management, which is a resident of California.

         3.       The amount in controversy is the value of the property at issue, or $490,603.00,

according to the Harris County Appraisal District. See Exhibit “F” to Defendant’s Notice of

Removal.

         4.       This action has not been pending for more than one year.

         5.       There is no defendant that did not join in Defendant’s Notice of Removal.

                                                       Respectfully submitted,


                                                       BARRETT DAFFIN FRAPPIER TURNER
                                                       & ENGEL, LLP

                                                         /s/ Crystal Gee Gibson
                                                       Crystal Gee Gibson
                                                       State Bar No. 24027322
                                                       SD No. 706039
                                                       4004 Belt Line Rd., Suite 100
                                                       Addison, Texas 75001
                                                       (972) 340-7901
                                                       (972) 341-0734 (Facsimile)
                                                       CrystalR@bdfgroup.com
                                                       ATTORNEY FOR DEFENDANT
                                                       AMERIHOME MORTGAGE COMPANY, LLC

                                  CERTIFICATE OF SERVICE

       On May 24, 2019 I certify that a copy of the foregoing was served as indicated to the
following:

Via E-Service
Robert “Chip” Lane
6200 Savoy Drive, Suite 1150
Houston, Texas 77036
                                                        /s/ Crystal Gee Gibson
                                                       Crystal Gee Gibson
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